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From: CorporateCommunications

Sent: Friday, October 10, 2003 4:50 PM

To: DL-VUG NA

Subject: URGENT NOTICE TO ALL VUG EMPLOYEES
Importance: High

URGENT NOTICE TO ALL EMPLOYEES:

If you have any documents relating to Valve or Valve products, you are hereby instructed by VU Games to
RETAIN all such documents, whether in hard copy or in electronic form. Do not destroy them or delete them.

This includes, without limitation, all drafts as well as final versions of memoranda, letters, e-mails, Word files,
spreadsheets, databases, etc. that contain or pertain to any communications with Valve employees, any contracts or
agreements with Valve, the performance of any such contracts or agreements, any end-user license agreements provided
to cybercafes, revenues, royalties, marketing materials, business plans and projections, financial statements, and
payments to Sierra/VUG's licensing agents. Valve products include Half-Life, Half-Life2, Condition Zero, Counterstrike,

Team Fortress Classic, Opposing Force, Biue Shift, Gunman Chronicles, Ricochet and Deathmatch Classic.
Any employee who fails to comply with these instructions will be subject to disciplinary action.

If you have any questions, please contact Eric Roeder for guidance at 310-431-4424 or eric roeder@vugames.com.

Thank you.

Robert D. Maraficti

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